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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

JUJAMCYN THEATERS LLC,
                                    CIVIL ACTION NO. 1:20-cv-06781-ALC-JEW
       Plaintiff,

v.

FEDERAL INSURANCE COMPANY
and PACIFIC INDEMNITY
COMPANY,

       Defendants.

MEMORANDUM OF LAW OF DEFENDANTS FEDERAL INSURANCE COMPANY
       AND PACIFIC INDEMNITY COMPANY IN SUPPORT OF
      RE-FILED MOTION FOR JUDGMENT ON THE PLEADINGS
     PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(c)

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                               PRELIMINARY STATEMENT

       The parties to the present action—Defendants Federal Insurance Company (“Federal”) and

Pacific Indemnity Company (“Pacific”) (collectively “Defendants”) and Plaintiff Jujamcyn

Theaters LLC (“Jujamcyn”)—were among the first to address the critical issue before this Court:

whether policyholders’ alleged losses incurred due to the COVID-19 pandemic constitute “direct

physical loss or damage,” a condition precedent for coverage under most first-party property

insurance policies. The parties filed simultaneous Motions for Judgment on the Pleadings in

November and December 2020 in order to resolve the matter. Defendants’ Motion advanced two

grounds for dismissing Jujamycn’s Complaint at the pleading stage: (1) with respect to the

insurance policy issued by Federal to Jujamcyn, Jujamcyn failed to plead that its alleged business

income loss incurred during the COVID-19 pandemic was the result of “direct physical loss or

damage” to insured property; and (2) with respect to the insurance policy issued by Pacific to

Jujamcyn, the single $250,000 “per loss” Limit of Insurance has already been paid by Pacific and

Jujamcyn has no right to further payments.

       In this Court’s March 3, 2022 order (“March 3 Order”), the Court denied both parties’

Motions, citing the Second Circuit decision in 10012 Holdings, Inc. v. Sentinel Ins. Co., Ltd., 21

F.4th 216 (2d Cir. 2021). Approximately one month later, the Court issued an order directing the

parties to re-file their motions for judgment on the pleadings incorporating the Second Circuit’s

decision in 10012 Holdings. As set forth herein, the Second Circuit’s decision in 10012 Holdings

supports a dismissal of Jujamcyn’s Complaint with prejudice on several grounds.

       First, 10012 Holdings unambiguously compels granting of Defendants Federal’s motion,

because 10012 Holdings conclusively establishes as a matter of law that business income losses

resulting from the COVID-19 pandemic do not arise from “direct physical damage or loss” to

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property, as required for coverage under the insurance policy issued by Federal to Jujamcyn. Over

the past two years since the parties’ original motions were filed, New York state and federal courts

have developed a substantial and uniform body of case law of over seventy decisions holding

unequivocally that policyholders’ alleged losses incurred due to the COVID-19 pandemic do not

constitute “direct physical loss or damage” to property, a condition precedent for coverage under

most first-party property insurance policies. Indeed, every New York state and federal court to

address the issue—at both the trial and appellate level—has reached the same conclusion. The

Second Circuit’s decision in 10012 Holdings is consistent with the reasoning set forth in these

cases and 10012 Holdings has been cited by multiple other Second Circuit decisions dismissing

complaints seeking business interruption coverage for COVID-19-related losses under first-party

property insurance policies.

       Second, the analysis in 10012 Holding pertaining to Civil Authority coverage also requires

this Court to reject Jujamcyn’s civil authority claim as a matter of law. Jujamcyn alleges neither

any physical damage to any neighboring premise nor that access to its premises was specifically

prohibited by any act of civil authority.

       Third, with respect to coverage under the insurance policy issued by Pacific to Jujamcyn,

Pacific already has paid its full $250,000 “per loss” limit to Jujamcyn. Jujamcyn nevertheless

seeks a full policy limit for each of its five separate locations insured by Pacific. Pacific’s policy

defines the term “Limit of Insurance” as the most Pacific will pay for any one occurrence. Here,

Jujamcyn’s loss is the result of a single occurrence, i.e., the government shutdown of certain

businesses because of the COVID-19 pandemic. Accordingly, Jujamcyn is entitled to a single

$250,000 per loss Limit of Insurance, rather than a $250,000 per location Limit of Insurance as




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suggested by Jujamcyn. Dismissal of Jujamcyn’s claim under the Pacific policy is also required

as a matter of law.

       Fourth, because Jujamcyn failed to plead facts which demonstrate that Defendants

breached their contractual obligations under the policies, Jujamcyn’s counts for bad faith and

declaratory judgment must be dismissed. Indeed, with respect to the Federal Policy, the sheer

volume of case law holding that COVID-19 does not cause direct physical loss or damage

demonstrates that Federal’s denial was reasonable and, thus, could not have been bad faith. With

respect to the Pacific Policy, where there is coverage—as Pacific conceded—there can be no bad

faith. Moreover, Jujamcyn’s count for declaratory judgment is rooted in and duplicative of its

count for breach of contract.

        Finally, any request by Jujamcyn to amend its complaint should be denied by this Court

because Jujamcyn would be unable to amend its complaint to include allegations that the losses it

allegedly suffered as a result of the COVID-19 pandemic were caused by “direct physical loss or

damage” to its own properties or any nearby properties.

       Accordingly, this Court should grant Defendants’ Motion for Judgment on the Pleadings

and order dismissal of the Complaint.


                                 FACTUAL BACKGROUND
I.     THE FEDERAL POLICY

       Federal issued Customarq Series Entertainment Insurance Program Policy No. 7944-46-01

(the “Federal Policy”) to Jujamcyn, effective from May 1, 2019 to May 1, 2020. Ex. A to

Complaint, ECF Doc. 1-1 to 1-10. Subject to its terms and conditions, the Federal Policy provides




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first-party property and time element coverages for five of Jujamcyn’s locations in New York City

with separate limits of liability for each location.1

         The Federal Policy’s Business Income and Extra Expense coverage states:

         We will pay for the actual:

          business income loss you incur due to the actual impairment of your operations; and
          extra expense you incur due to the actual or potential impairment of your operations,

         during the period of restoration, not to exceed the applicable Limit Of Insurance
         for Business Income With Extra Expense shown in the Declarations.

         This actual or potential impairment of operations must be caused by or result from
         direct physical loss or damage by a covered peril to property, unless otherwise stated.

Ex. A to Complaint, ECF Doc. 1-3, p.12.

         The Civil Authority coverage provisions under the Federal Policy provide:

         We will pay for the actual:

                 business income loss; or
                 extra expense,

         you incur due to the actual impairment of your operations directly caused by the
         prohibition of access to:

                 your premises; or
                 a dependent business premises

         by a civil authority.

         This prohibition of access by a civil authority must be the direct result of direct physical
         loss or damage to property away from such premises or such dependent business
         premises by a covered peril, provided such property is within:

                 one mile; or
                 [10 miles],

         from such premises or dependent business premises, whichever is greater.


1
 The Policy lists the following locations in New York City: (1) 246 West 44th Street; (2) 302 West 45th Street; (3) 219
West 48th Street; (4) 230 West 49th Street; and (5) 245 West 52nd Street. Ex. A to Complaint, ECF Doc. 1-1, p. 15.
Each of these five properties has separate declarations with separate limits of liability.

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Id., pp. 14-15 (bolded terms appear in original, underlined terms added for emphasis).

       Both of the above provisions in the Federal Policy require “direct physical loss or damage”

to property as a condition precedent to coverage.

II.    THE PACIFIC POLICY

       Pacific issued Property Insurance for the Performing Arts Policy No. 7993-60-33 to

Jujamcyn, effective May 1, 2019 to May 1, 2020 (the “Pacific Policy”). Ex. C to Complaint, ECF

Doc. 1-12 to 1-13. The insuring agreement of the Performance Disruption Coverage provides:

       We will pay for the actual:

               business income loss you incur due to the necessary cancellation,
                interruption or postponement of one or more of your performances,
                including the inability to open a new production as scheduled; and

               extra expense you incur due to the actual or potential cancellation,
                interruption postponement or other impairment of one or more of your
                performances,

            not to exceed the applicable Limit of Insurance for Performance Disruption
            shown in the Declarations.

            This coverage applies only when the actual or potential cancellation,
            interruption, postponement or impairment of your performance is caused by or
            results from a covered occurrence.

Ex. C to Complaint, ECF Doc.1-13, p. 20.

       The Limit of Insurance for Performance Disruption shown in the Declarations of the Pacific

Policy is $250,000 “each loss.” Ex. C to Complaint, ECF Doc. 1-12, p. 7. The Pacific Policy

defines “Limits of Insurance” as “[t]he most we will pay in any one occurrence is the amount of

loss, not to exceed the applicable Limit of Insurance shown in the Declarations.” Ex. C to

Complaint, ECF Doc.1-13, p. 22. Pacific has tendered $250,000, the maximum limit of liability,

to Jujamcyn. Complaint, ECF Doc. 8 ¶ 76. Jujamcyn accepted Pacific’s tender, but claimed that

the $250,000 limit applies to each of its five locations.

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III.    JUJAMCYN’S INSURANCE CLAIM AND COMPLAINT

        On August 25, 2020, Jujamcyn filed a Complaint asserting causes of action against Federal

and Pacific for: (1) breach of contract; (2) breach of the implied covenant of good faith and fair

dealing; and (3) declaratory judgment. Complaint, ECF Doc. 8, Counts I-VI.

        With respect to the Federal Policy, Jujamcyn seeks coverage for its business income loss

and damages as a result of the COVID-19 pandemic pursuant to the Federal Policy’s Business

Income and Extra Expense coverage provisions. According to the Complaint, Jujamcyn suffered

business income losses because governmental orders issued in New York deemed Jujamcyn’s

business “non-essential,” and mandated its closure. Id. ¶¶ 3-5, 26-32, 51, 55. Jujamcyn also

alleges that “the presence of SARS-CoV-2 (the virus that causes COVID-19) in a building’s

airspace and on or around property constitutes ‘direct physical loss or damage’ to property” and

“[b]ecause the SARS-CoV-2 virus . . . can linger in the air in buildings for several hours, the

presence of the SARS-CoV-2 virus on or around property amounts to ‘direct physical loss or

damage’ as that phrase is used in the Federal Policy.” Id. ¶¶ 49, 52.

        Jujamcyn does not allege that SARS-CoV-2 was on or at any of its premises (or any

particular premises) or that any such presence caused its business loss. Rather, Jujamcyn asserts

that the “[o]rders issued by the City and State of New York” are what “substantially impaired

Jujamcyn’s properties, constituting ‘direct physical loss or damage’ to those properties.” Id. ¶ 53

(emphasis added). According to Jujamcyn, the governmental orders, which were intended to

“flatten the curve” to fight the pandemic, rendered Jujamcyn incapable of using its premises for

their essential functions. Id.   “As a result of the suspensions of its business operations,” the

Complaint alleges, “Jujamcyn sustained covered Business Income With Extra Expense loss as

defined in the Federal Policy.” Id. ¶ 51. Additionally, Jujamcyn claims the various Executive



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Orders issued in New York City “substantially impaired Jujamcyn’s properties, constituting . . .

actions ‘by a civil authority’ as a ‘direct result of direct physical loss or damage’ as required to

trigger Civil Authority coverage under the Federal Policy.” Id. ¶ 53.

       In late April 2020 or early May 2020, Jujamcyn presented an insurance claim to Federal

seeking business interruption and civil authority coverage under the Federal Policy. Id. ¶ 5.

Federal denied Jujamcyn’s coverage claims. Id. ¶¶ 55-57.

       Separately, with respect to the Pacific Policy, although Pacific tendered $250,000—the full

Limit of Insurance—Jujamcyn alleges that it is entitled to a separate $250,000 limit for losses at

each of its five theaters. Id. ¶ 76. Jujamcyn alleges that each theater sustained “business income

loss” as a result of the “necessary cancellation, interruption or postponement of one or more of

[its] performances” as a result of various orders of civil authority. Id. ¶¶ 80-100. Jujamcyn alleges

breach of contract, and breach of the implied covenant of good faith and fair dealing and seeks a

declaration that it is entitled to $250,000 for each of its five locations. Id. ¶¶ 125-145.

                                   PROCEDURAL HISTORY

       On September 29, 2020, Defendants filed an Answer to Jujamcyn’s Complaint. Answer,

ECF Doc. 20. Subsequently, Jujamcyn and Defendants were granted permission to file motions

for judgment on the pleadings on a simultaneous briefing schedule. ECF Doc. 24, 26.

       On November 17, 2020, the parties filed their initial motions for judgment on the pleadings.

ECF Doc. 27, 28. The parties filed their oppositions on December 16, 2020 (ECF Docs. 29, 30),

and replies on December 23, 2020 (ECF Docs. 31, 32).

       This Court issued the March 3 Order denying the parties’ motions for judgment on the

pleadings “[i]n light of the Second Circuit’s opinion in 10012 Holdings, Inc. v. Sentinel Ins. Co.,

Ltd., 21 F.4th 216 (2d Cir. 2021).” ECF Doc. 35. The March 3 Order also required the parties to



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submit a joint status letter regarding how they would like to proceed no later than March 17, 2022.

Id.

       On March 17, 2022, Defendants filed a Motion for Reconsideration of the March 3 Order.

ECF Doc. 37. Four days later, on March 21, 2022, the Court issued an order clarifying that a

motion for reconsideration was unnecessary and the parties were to inform the Court “whether

they shall re-file their original motions or file new motions incorporating 10012 Holdings, as well

as submit a proposed briefing schedule for the Courts approval.” ECF Doc. 38.

       On March 25, 2022, the parties filed a joint letter motion informing the Court of each

party’s preference with respect to whether the parties would re-file their original motions or file

new motions and providing a proposed briefing schedule. ECF Doc. 39. On April 1, 2022, the

Court issued an order terminating Defendants’ prior Motion for Reconsideration and approving

the briefing schedule to file renewed motions for judgment on the pleadings, which have been

updated with the case law decided since the original motions were filed, including 10012 Holdings

(the “April 1 Order”). ECF Doc. 40.

                                     LEGAL ARGUMENT

I.     LEGAL STANDARD ON MOTION FOR JUDGMENT ON THE PLEADINGS

       A court considering a motion for judgment on the pleadings pursuant to Federal Rule of

Civil Procedure 12(c) applies “[t]he same standard applicable to ... motions to dismiss [for failure

to state a claim upon which relief can be granted, pursuant to Fed. R. Civ. P. 12(b)(6)].” Butnick

v. Gen. Motors Corp., 472 F. App’x 80, 82 (2d Cir. 2012) (citation omitted). For both Rule 12(b)

and Rule 12(c) motions, “the district court must accept all allegations in the complaint as true and

draw all inferences in the non-moving party’s favor.” Patel v. Contemporary Classics of Beverly

Hills, 259 F.3d 123, 126 (2d Cir. 2001) (citation omitted). The court, however, need not accept



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as true “conclusions of law or unwarranted deductions of fact.” First Nationwide Bank v. Gelt

Funding Corp., 27 F.3d 763, 771 (2d Cir.1994).

       A District Court may consider “facts stated on the face of the complaint, in documents

appended to the complaint or incorporated in the complaint by reference, and to matters of which

judicial notice may be taken.” Allen v. WestPoint–Pepperell, Inc., 945 F.2d 40, 44 (2d Cir.1991).

When a plaintiff insured brings suit to enforce the contractual obligations owed under the terms of

an insurance policy issued by its insurer, a court may properly dismiss the suit if it determines as

a matter of law that no insurance coverage exists for the insured’s claims under the insurance

policy. David Lerner Assocs., Inc. v. Philadelphia Indem. Ins. Co., 934 F. Supp. 2d 533, 536

(E.D.N.Y.), aff'd, 542 F. App'x 89 (2d Cir. 2013) (granting an insurer’s motion to dismiss its

insured’s claims for declaratory judgment and breach of contract after determining there was no

duty to defend or indemnify under the insurance policy issued its insured).

II.    THE SECOND CIRCUIT’S HOLDING           IN   10012 HOLDINGS SUPPORTS       A   DISMISSAL   OF
       JUJAMCYN’S COMPLAINT

       The Court’s March 3 Order and April 1 Order instructed the parties to incorporate in their

briefing the Second Circuit’s holding in 10012 Holdings. As set forth in detail below, that decision

compels dismissal of Jujamcyn’s complaint because it does not and cannot allege that its business

losses resulted from “direct physical loss or damage” to any property.

       A.      10012 HOLDINGS PROPERLY APPLIES CONTROLLING NEW YORK PRECEDENT
               INTERPRETING THE PHRASE “DIRECT PHYSICAL LOSS OR DAMAGE”

       The Second Circuit’s decision in 10012 Holdings largely relies on the First Department’s

holding in Roundabout Theatre Co. v. Cont’l Cas. Co., 751 N.Y.S.2d 4, 5 (2002). 10012 Holdings,

21 F.4th at 220-22. The Roundabout case has been considered by New York State courts as “the




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seminal New York state authority” for interpreting the phrase “direct physical loss or damage.”

Visconti Bus Serv., LLC v. Utica Nat’l Ins. Grp., 142 N.Y.S.3d 903, 909 (N.Y. Sup. Ct. 2021).

       In Roundabout, the New York Appellate Division determined an insurer’s obligation to

provide coverage under an insurance policy that insured against “all risks of direct physical loss

or damage to the property.” Roundabout, 751 N.Y.S.2d at 5. The court found “the language in the

instant policy clearly and unambiguously provides coverage only where the insured’s property

suffers direct physical damage.” Id. at 8. In light of this provision, the court found that “the only

conclusion that can be drawn is that the business interruption coverage is limited to losses

involving physical damage to the insured’s property.” Id.; see also Howard Stores Corp. v.

Foremost Ins. Co., 441 N.Y.S.2d 674, 676 (1981), aff’d, 56 N.Y.2d 991 (1982) (“Plainly the policy

in suit was not intended to include business interruption, if any, to these other stores where no

physical damage occurred.”).

       The Second Circuit’s opinion in 10012 Holdings follows directly from the First

Department’s holding in Roundabout. The Second Circuit held, “in accord with Roundabout

Theatre and every New York state court to have decided the issue, that under New York law the

terms ‘direct physical loss’ and ‘physical damage’ in the Business Income and Extra Expense

provisions do not extend to mere loss of use of a premises, where there has been no physical

damage to such premises; those terms instead require actual physical loss of or damage to the

insured’s property.” 21 F.4th at 22. The Court “therefore reject[ed]” the insured’s “argument that

‘physical loss’ must mean ‘loss of physical possession and/or direct physical deprivation’ — in

other words, loss of use.” Id.

       The Second Circuit subsequently applied 10012 Holdings to affirm the dismissal of

multiple other complaints seeking insurance coverage for business interruption losses caused by



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the COVID-19 pandemic. See BR Rest. Corp. v. Nationwide Mut. Ins. Co., No. 21-2100-CV, 2022

WL 1052061, at *2 (2d Cir. Apr. 8, 2022) (“BR concedes that 10012 Holdings is factually on

point. It contends, however, that we misapplied New York law in that decision. We disagree, and

we note that no subsequent developments in the New York courts have called that decision into

question. We are therefore bound by our prior decision in 10012 Holdings.”); SA Hosp. Grp., LLC

v. Hartford Fire Ins. Co., No. 21-1523-CV, 2022 WL 815683, at *2 (2d Cir. Mar. 18, 2022) (“Like

the gallery in 10012 Holdings, SA Hospitality alleges only a loss of use of property with respect

to its restaurants, which does not amount to an ‘actual physical loss of’ property.”); Deer Mountain

Inn LLC v. Union Ins. Co., No. 21-1513, 2022 WL 598976, at *2 (2d Cir. Mar. 1, 2022) (“Like the

appellants in 10012 Holdings, . . . Deer Mountain does not plausibly allege that its insured property

sustained any physical damage; it merely alleges loss of use of that property.”); Kim-Chee LLC v.

Philadelphia Indem. Ins. Co., No. 21-1082-CV, 2022 WL 258569, at *1 (2d Cir. Jan. 28, 2022)

(“In light of the ruling in 10012 Holdings . . . Kim-Chee cannot base its business interruption claim

on loss of possession or access. . . . Rather, to survive dismissal, Kim-Chee’s complaint must

plausibly allege that the virus itself inflicted ‘actual physical loss of or damage to’ property.”); Rye

Ridge Corp. v. Cincinnati Ins. Co., No. 21-1323-CV, 2022 WL 120782, at *2 (2d Cir. Jan. 13,

2022) (“Here, as in 10012 Holdings, the [insureds] do not allege any physical damage to their

insured premises, and the relevant terms of their insurance policy with Cincinnati are not materially

different from those at issue in 10012 Holdings.”).

        The holdings in 10012 Holdings and its progeny unambiguously mandate dismissal of

Jujamcyn’s coverage claim under the Federal Policy. Jujamcyn does not allege any actual,

tangible, or demonstrable harm to its properties as a result of the COVID-19 pandemic. Jujamcyn

merely refers to the “potential danger” of COVID-19 at their theaters and the risk of the virus



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spreading amongst individuals at their theaters. Complaint, ECF Doc. 8 at ¶ 27. Jujamcyn further

alleges that it “was forced to suspend its operations, indefinitely suspend and postpone all of the

shows at all of the insured theaters, and had the use and functionality of its premises substantially

impaired, due to SARS-CoV-2, COVID-19, the subsequent actions and orders of state and local

civil authorities,” and “[a]s a result, Jujamcyn has suffered, and continues to suffer, substantial

financial losses.” Id. at ¶¶ 3,4. Instead of identifying any loss resulting from any tangible damage

to its property, Jujamcyn contends its purely economic loss in revenue resulting from the mandated

closures could be considered to be loss from “direct physical loss or damage” to property because

the phrase “direct physical loss or damage” is ambiguous, as the Federal Policy does not expressly

define it. Id. at ¶ 41. That argument is directly contrary to 10012 Holdings and its progeny, all of

which construe the plain meaning of “direct physical loss or damage” to require the kind of tangible

alteration to property that Jujamcyn does not and cannot allege.

       Neither the potential risk of the virus spreading at Jujamcyn’s property nor its purely

economic loss allegedly resulting from the government mandated closures are enough meet this

standard set forth in Roundabout and applied by the Second Circuit in 10012 Holdings.

       This District Court has also issued multiple decisions interpreting “direct physical loss or

damage” consistently with Roundabout and 10012 Holdings, including a decision written by Your

Honor dismissing a complaint containing allegations nearly identical to Jujamcyn’s.                See

Declaration of Daren S. McNally (“McNally Dec.”), Exhibit A; Block v. Hartford Underwriters

Ins. Co., No. 20-CV-9302 (ALC), 2022 WL 912944, at *3 (S.D.N.Y. Mar. 29, 2022) (“Like 10012

Holdings, Plaintiff seeks coverage for business losses associated with government mandate

closures as a result of the COVID-19 pandemic. But Plaintiff does not allege the presence of

COVID-19 in its office or the vicinity of its offices directly led to the closure of its property.”).



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       This Court should follow the holding and analysis in 10012 Holdings and its progeny and

reject Jujamcyn’s claim for coverage of business losses at five theaters during the COVID-19

pandemic. Just as in 10012 Holdings and other cases, Jujamcyn’s losses were not caused by “direct

physical loss or damage” to property. Jujamcyn’s Complaint should be dismissed accordingly.

       B.      NEW YORK STATE COURTS HAVE ALSO CONSISTENTLY FOUND ECONOMIC
               LOSSES CAUSED BY THE COVID-19 PANDEMIC WERE NOT CAUSED BY “DIRECT
               PHYSICAL LOSS OR DAMAGE” TO PROPERTY

       Not only have New York federal court decisions been overwhelmingly in favor of insurers

in COVID-19 business interruption coverage cases, but every New York State court interpreting

“direct physical loss or damage” under a first-party property insurance policy in the context of

COVID-19 business interruption coverage has also found in favor of the insurer. McNally Dec.,

Exhibit B. Moreover, in the first New York Appellate Division decision addressing the issue, the

First Department issued a well-reasoned opinion that dismissed a complaint alleging an insured’s

COVID-19-related business losses were covered under a policy that required such losses to be

caused by “direct physical loss or damage” to property. See Consol. Rest. Operations, Inc. v.

Westport Ins. Corp., No. 15410, 2022 WL 1040367 (N.Y. App. Div. Apr. 7, 2022). The First

Department’s opinion expressly relies upon Roundabout and 10012 Holdings.

       In Consol. Rest. Operations, Judge Judith J. Gische noted that “Roundabout, while

factually distinguishable, provides a useful starting point for our analysis, supporting a conclusion

that any claim for coverage must arise from something that occurred within the property.” Id. at

*3. Judge Gische further noted that, according to Roundabout, “in order for there to be ‘direct’

‘physical’ damage or loss to property, there be ‘some physical problem with the covered property,’

not just the mere loss of use.” Id. (citing Rye Ridge Corp. v. Cincinnati Ins. Co., 535 F. Supp. 3d

250, 255 (S.D.N.Y. 2021), aff’d 21-1323-CV, 2022 WL 120782 (2d Cir. Jan. 13, 2022)).



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Particularly, “[i]f the proffered facts do not identify any physical (tangible) difference in the

property, then the complaint fails to state a cause of action.” 2022 WL 1040367, at *3. Judge

Gische ultimately held that, “[a]lthough plaintiff argues that its complaint and certainly its

proposed amended complaint allege that its property was physically altered by the coronavirus, we

find that the pleadings are conclusory. While plaintiff cites several out-of-state decisions that it

believes supports its position, the overwhelming number of authorities, with which we agree,

support an opposite view.” Id.

       Judge Gische’s opinion also cited 10012 Holdings. In 10012 Holdings, she explained, “the

Second Circuit also rejected the plaintiff's claim that it had suffered a ‘physical event’ within the

meaning of its policy; the court affirmed dismissal of the complaint because the facts did not show

‘direct physical loss’ or ‘physical damage’ to the plaintiff's property and the policy ‘d[id] not

extend to mere loss of use of a premises,’ but rather required ‘actual physical loss of or damage to

the insured's property.’” Id. at *4. Judge Gische acknowledged that 10012 Holdings and its federal

progeny were technically “not binding” on the First Department, but the panel concluded that

“their analysis of New York law is persuasive” and accordingly “adopt their reasoning.” Id.

(citations and footnote omitted).

       Given the reasoning set forth in Defendants original motion for judgment on the pleadings

is consistent with 10012 Holdings, New York State precedent, Roundabout, and the dozens of New

York State and federal cases which have dismissed complaints seeking business interruption

coverage for COVID-19-related business losses, this District Court should do the same and dismiss

Jujamcyn’s Complaint accordingly.




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       C.      CIVIL AUTHORITY COVERAGE IS ALSO INAPPLICABLE

       With respect to Jujamcyn’s claim for insurance coverage under the Civil Authority

provision in the Federal Policy, this Court should grant Defendants’ Motion on the same grounds—

namely, that the Jujamcyn’s alleged loss was insufficient to trigger this provision.

       In addition to finding that alleged COVID-19-related business interruption loss did not

constitute loss caused by any “direct physical loss or damage” to property, the Second Circuit in

10012 Holdings also found that such losses were insufficient to trigger a first-party property

insurance policy’s civil authority coverage provision, for two reasons. First, the Court explained,

Civil Authority coverage “is contingent on showing that the civil authority orders — here, the

executive orders issued by the Governor — resulted from a risk of direct physical loss to property

in the vicinity of the gallery.” 21 F.4th at 22. And the “executive orders” at issue were “the result

of the COVID-19 pandemic and the harm it posed to human beings,” rather than a result of the

“risk of physical damage to property.” Id. “Shuttering a gallery because of possible human

infection,” the Court emphasized, “does not qualify as a ‘risk of direct physical loss.’” Id. The

same is true here. Jujamcyn relies on the same executive orders in claiming Civil Authority

coverage, and that claim fails or the same reason:     Jujamcyn alleges only that the orders were

issued to “flatten the curve” to mitigate the risk of transmitting the virus between human beings

(Complaint, ECF Doc. 8 ¶ 53), rather than because of any tangible damage to nearby properties.

       Second, the 10012 Holdings Court held that, “even assuming that COVID-19 itself posed

a ‘risk of direct physical loss,’” Civil Authority coverage applies only when “the executive orders

prohibiting access to the insured’s premises were prompted by risk of harm to neighboring

premises.” 21 F.4th at 22 (emphasis added). The complaint in 10012 Holdings alleged no physical

damage to any neighboring premises, and, again, the same is true here: Jujamcyn’s Complaint



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fails to identify any property nearby that was physically damaged, let alone how such damage

occurred.

       Jujamcyn’s Complaint contains the same deficiencies as the complaint in 10012 Holdings;

thus, the same analysis as to Civil Authority coverage should apply here. Defendants’ Motion for

Judgment on the Pleadings should therefore be granted and Jujamcyn’s Complaint should be

dismissed.

       D.      NUMBER OF OCCURRENCES UNDER THE PACIFIC POLICY

       As noted above, the Limit of Insurance for “Performance Disruption” shown in the

Declarations of the Pacific Policy is $250,000 “each loss.” The phrase “Limits of Insurance” is

defined in that Policy as: “The most we will pay in any one occurrence is the amount of loss, not

to exceed the applicable Limit of Insurance shown in the Declarations.” Ex. C to Complaint, ECF

Doc. 1-13, p. 22. The $250,000 “each loss” limit can easily be contrasted with the limits of liability

set forth in the Federal Policy, which identifies the five properties at issue and identifies a separate

Limit of Insurance of $5,000,000 for each of the five properties. The Pacific Policy does not

contain separate declarations and limits for each theater but, instead, identifies a single $250,000

limit “each loss.” If the Pacific Policy were intended to provide a separate limit for each location,

the Policy would have identified the Limit of Liability as being “per location” or “per loss per

location.”

       Here, there is but a single occurrence—the city-wide mandated shutdown of operations

caused by the COVID-19 pandemic, which required the closure of establishments, such as theaters,

all at the same time. See, e.g., Chicago’s Preschool Acad. Of Learning, Inc. v. West Bend Mut. Ins.

Co., No. 20-cv-04044, 2020 WL 5702145, at * 4 (N.D. Ill. Sept. 24, 2020) (the insured’s alleged

losses stemmed from “a single occurrence (the March 2020 shutdown of its operations caused by



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the COVID-19 pandemic” and thus, it was entitled to only a single limit of coverage under a

Communicable Disease coverage provision). Accordingly, Jujamcyn is not entitled to recover five

separate loss limits for its five theaters particularly where, as here, the Pacific Policy does not

provide “per location” limits.

III.    JUJAMCYN’S COUNTS FOR BAD FAITH AND DECLARATORY JUDGMENT MUST BE
        DISMISSED BECAUSE THERE WAS NO BREACH OF CONTRACT

        Jujamcyn’s Complaint asserts three causes of action against Defendants: (1) breach of

contract; (2) breach of the implied covenant of good faith and fair dealing; and (3) declaratory

judgment. Complaint, ECF Doc. 8, Counts I-VI. All counts in Jujamcyn’s Complaint must be

dismissed because Jujamcyn fails to sufficiently plead its central claim—that Defendants breached

their contractual obligations the policies.

        Under New York law, “[t]o establish a prima facie case for breach of contract, a plaintiff

must plead and prove: (1) the existence of a contract; (2) a breach of that contract; and (3) damages

resulting from the breach.” Nat'l Mkt. Share, Inc. v. Sterling Nat'l Bank, 392 F.3d 520, 525 (2d

Cir. 2004). “[A] written agreement that is complete, clear and unambiguous on its face must be

enforced according to the plain meaning of its terms.” Travelers Cas. & Sur. Co. v. Dormitory

Auth.-State of New York, 735 F. Supp. 2d 42, 56 (S.D.N.Y. 2010) (quoting MHR Capital Partners

LP v. Presstek, Inc., 12 N.Y.3d 640, 645 (2009)).

        As discussed in detail above, Jujamcyn fails to plead that its alleged business loss during

the COVID-19 was the result of “direct physical loss or damage” to any property, and therefore,

fails to demonstrate that Federal breached any obligations under the Federal Policy. Additionally,

Pacific has already paid its full $250,000 “per loss” limit to Jujamcyn pursuant to the terms of the

Pacific Policy. Where coverage was acknowledged and a limit paid, there can be no breach of

contract. Jujamcyn’s counts for breach of contract must be dismissed accordingly.

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       Moreover, because Jujamcyn has failed to plead facts which demonstrate that Defendants

breached their contractual obligations with respect to coverage under their respective policies,

Jujamcyn’s counts for bad faith and declaratory judgment must be dismissed. Indeed, both causes

of action are rooted in and duplicative of Jujamcyn’s count for breach of contract. Scottsdale Ins.

Co. v. McGrath, 549 F. Supp. 3d 334, 344–45 (S.D.N.Y. 2021) (“[T]here remains a strong

presumption in New York against a finding of bad faith liability by an insurer, particularly for

refusing to defend. . . . The presumption against bad faith liability can be rebutted only by evidence

establishing that the insurer's refusal to defend was based on more than an arguable difference of

opinion, and exhibited a gross disregard for its policy obligations. . . . Moreover, the duty under

New York law to act in good faith when deciding whether to settle a claim arises only after the

insured assumes defense of a suit, and not before.”); Camofi Master LDC v. Coll. P'ship, Inc., 452

F. Supp. 2d 462, 480 (S.D.N.Y. 2006) (finding declaratory judgment sought by a party was

duplicative of the adjudication of its breach of contract claim because declaratory judgment claim

neither of these two objectives “serve[d] a useful purpose in clarifying and settling the legal

relations in issue” nor “afford[ed] relief from the uncertainty, insecurity, and controversy giving

rise to the proceeding”).

       Further, the volume of case law holding that COVID-19 does not cause direct physical loss

or damage demonstrates that Federal’s denial was reasonable. Accordingly, Federal’s denial of

Jujamcyn’s claim could not have been bad faith. Additionally, where coverage exists – as Pacific

acknowledged – and the limit has been paid, there can be no bad faith. Moreover, even if there

were multiple occurrences in this case—which there are not—it certainly cannot be said that

Defendants’ position with respect to the number of occurrences issue is so unreasonable to the

point that taking this position would somehow be considered to be bad faith. United States Fire



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Ins. Co. v. Nine Thirty FEF Invs., LLC, 17 N.Y.S.3d 118, 120 (1st Dep’t 2015) (holding an

insurer's differing interpretation of policy exclusion, although ultimately unavailing, did not evince

bad faith, and therefore insured not entitled to attorneys' fees); Wentworth Grp. Inc. v. Evanston

Ins. Co., No. 20CV6711GBDJLC, 2022 WL 336456, at *6 (S.D.N.Y. Feb. 4, 2022), report and

recommendation adopted, No. 20CIV6711GBDJLC, 2022 WL 909794 (S.D.N.Y. Mar. 29, 2022)

(“[C]ourts have found that an insurer's disclaimer of coverage based on a reasonable interpretation

of the policy, without more, does not constitute bad faith, even when the insurer's interpretation is

ultimately rejected.”); 99 Wall Dev., Inc. v. Allied World Speciality Ins. Co., No. 18-CV-126 (RA),

2021 WL 4460638, at *11 (S.D.N.Y. Sept. 29, 2021) (“Only when an insurance company's

interpretation of the policy is ‘unreasonable’ can bad faith be found.”).

       Accordingly, the entirety of Jujamcyn’s Complaint should be dismissed with prejudice

because Jujamcyn has failed to plead either Defendant has breached its contractual obligations.

IV.    JUJAMCYN SHOULD NOT BE GRANTED LEAVE TO AMEND ITS COMPLAINT

       “[I]t is well established that leave to amend a complaint need not be granted when

amendment would be futile.” Ellis v. Chao, 336 F.3d 114, 126 (2d Cir.2003). “More specifically,

a proposed amendment to a pleading is deemed to be futile if ‘it could not withstand a motion to

dismiss pursuant to Rule 12(b)(6).’” E*Trade Fin. Corp. v. Deutsche Bank AG, 420 F. Supp. 2d

273, 282 (S.D.N.Y. 2006) (quoting Oneida Indian Nation of New York v. City of Sherrill, 337 F.3d

139, 168 (2d Cir.2003)). See also Health–Chem Corp. v. Baker, 915 F.2d 805, 810 (2d Cir.1990)

(“Although Fed.R.Civ.P. 15(a) provides that leave to amend should be given freely when justice

so requires, where, as here, there is no merit in the proposed amendments, leave to amend should

be denied.”); Prudential Ins. Co. v. BMC Indus., Inc., 655 F. Supp. 710, 711 (S.D.N.Y.1987)




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(citations and internal quotations omitted) (“Although leave to amend should be freely given, it is

inappropriate to grant leave when the amendment would not survive a motion to dismiss.”).

       Here, leave for Jujamcyn to amend its Complaint would be futile because Jujamcyn would

be unable to include allegations that the losses it allegedly suffered as a result of the COVID-19

pandemic were caused by “direct physical loss or damage” to its own properties or any nearby

properties. There are no conceivable allegations that Jujamcyn could add to its Complaint to

sufficiently allege the COVID-19 pandemic has caused any actual or tangible damage to property

in order trigger coverage under the Federal Policy. Multiple courts within this District have found

the same. Mario Badescu Skin Care Inc. v. Sentinel Ins. Co., No. 20 CIV. 6699 (AT), 2022 WL

253678, at *7 (S.D.N.Y. Jan. 27, 2022) (“[A] generalized allegation that the ‘virus physically is

causing loss and damage’ does not establish that the premises—or surrounding businesses—

suffered ‘physical loss of, or physical damage’ that would trigger application of the clause. . . .

[T]he Court finds that further attempts to amend the complaint would be futile.”); Michael Cetta,

Inc. v. Admiral Indem. Co., 506 F. Supp. 3d 168, 185 (S.D.N.Y. 2020) (“[T]he Court finds that

allowing leave to amend would be futile.”).

       Thus, the Complaint should be dismissed without leave to renew or amend the Complaint.

                                         CONCLUSION

       Based on the foregoing, Defendants cannot provide coverage for Jujamcyn’s business

interruption losses during the COVID-19 pandemic when the plain language of the Federal Policy

does not permit it to do so. Separately, Pacific has already paid its full $250,000 “per loss” limit

to Jujamcyn pursuant to the terms of the Pacific Policy. Therefore, pursuant to controlling New

York precedent, dismissal of Jujamcyn’s Complaint with prejudice is warranted under Federal

Rule 12(c).



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Dated: April 29, 2022              Respectfully submitted,

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